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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :    CASE NO.
                                                   :
                        v.                         :    MAGISTRATE NO.
                                                   :
 MICHAEL ASBURY,                                   :    VIOLATIONS:
                                                   :    18 U.S.C. § 231(a)(3)
                             Defendant.            :    (Obstruction of Law Enforcement
                                                   :    During Civil Disorder)
                                                   :    18 U.S.C. § 1752(a)(1)
                                                   :    (Entering and Remaining in a Restricted
                                                   :    Building or Grounds)
                                                   :    18 U.S.C. § 1752(a)(2)
                                                   :    (Disorderly and Disruptive Conduct in a
                                                   :    Restricted Building or Grounds)
                                                   :    18 U.S.C. § 1752(a)(4)
                                                   :    (Engaging In Physical Violence in a
                                                   :    Restricted Buildings or Grounds) 40
                                                   :    U.S.C. § 5104(e)(2)(D)
                                                   :    (Disorderly Conduct in a
                                                   :    Capitol Building)
                                                   :    40 U.S.C. § 5104(e)(2)(F)
                                                   :    (Act of Physical Violence in the Capitol
                                                   :    Grounds or Buildings)

                                             ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal Criminal Complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence, and

serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the Affidavit in Support of Motion to Seal Criminal Complaint and other related materials, the instant

application to seal, and this Order are sealed until the Arrest Warrant is executed.



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       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the Arrest Warrant until it is executed.



                                                        G. Michael   Digitally signed by G.
                                                                     Michael Harvey

Date: 06/27/2023                                        Harvey       Date: 2023.06.27
                                                                     11:28:02 -04'00'

                                                      HON. G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE




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